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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE No. 24-CR-20398-RUIZ/LOUIS

   UNITED STATES OF AMERICA

   v.

   FEDERICO NANNINI
   MAURO NANNINI
   ______________________________/


    MAURO AND FEDERICO NANNINI’S SENTENCING MEMORANDUM
           IN SUPPORT OF A VARIANCE AT SENTENCING


                                                Respectfully submitted,

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                                       I. INTRODUCTION

         Mauro and Federico Nannini were arrested on September 13, 2024. Within a

   week of their arrest, undersigned counsel initiated discussions with the government

   to explore a guilty plea and early disposition of the case. The Nanninis pled guilty

   in December 2024, with Mauro agreeing to a $180,328.41 forfeiture. To demonstrate

   that he intended to comply with the terms of the agreement and fulfill his financial

   obligations to the government, Mauro transferred the full forfeiture amount to

   undersigned counsel’s trust account a few days after his guilty plea, where the funds

   have remained available for payment to the government upon sentencing.

         Mauro (father) and Federico (son) are now before the Court to face the

   consequences of their actions. They are remorseful and ashamed for the crime they

   committed and the pain they have caused their family and friends. Mauro recognizes

   that he made a grave mistake, and the realization that he failed as a father when he

   had the opportunity to guide Federico away from this offense is agonizing. And

   Federico feels profound pain and regret that his actions contributed to his father and

   his best friend Thermiotis being indicted, and to his former employer becoming

   embroiled in an insider trading investigation. Federico lost everything he worked so

   hard to attain, including his job at BRG that he was immensely grateful for and the

   mentorship of his supervisor there, someone Federico admired.




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         Many individuals who know the Nanninis have written urging the Court to

   impose a sentence involving no incarceration. Such a sentence will hold the Nanninis

   accountable for their actions in light of all the purposes of sentencing. Mauro is 63

   years old and under active surveillance for prostate cancer. His gain from this offense

   was at most $180,000, which Mauro has agreed to disgorge. His advisory guideline

   range is either 8-14 or 12-18 months, depending on how the Court rules on his

   objection to the gain calculation in the PSI report. Mauro is a first-time offender who

   poses no risk of reoffending and whose conduct was an aberration from his otherwise

   law-abiding and philanthropic life. Mauro has been a thoughtful and present father

   and husband, and has had an impactful and positive influence in the lives of his

   family and friends and of so many who are living in poverty. The letters from

   Mauro’s friends and family show that Mauro has prioritized generosity and service

   to others, and that his philanthropy is woven into the person he is. A sentence of

   home confinement would be consistent with similar sentences imposed throughout

   the country as detailed in this memorandum.

         Federico made zero dollars from this offense. He never traded on the stock

   and made $0 gains. His guideline is being driven entirely by the gains of his father

   and the substantial gains of Thermiotis, which Federico did not direct and in which

   he did not share. In this memorandum, Federico shares with the Court his difficult

   years growing up to help explain his actions in providing the confidential




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   information to two of the most important people in his life—his father and his best

   friend. Federico was not motivated by malice or a desire to cause harm, but instead

   because he yearned for validation and belonging.

         Mauro and Federico submit this memorandum to seek the Court’s mercy and

   leniency at sentencing. As more fully described below, the § 3553(a) factors support

   a non-custodial sentence with a substantial period of public service. As one of the

   Nannini family friends states in his letter, “I understand that we all, at times, make

   mistakes. Life is complex, and even the best among us can falter. But what defines

   a person is not their mistakes but their willingness to learn, to grow, and to continue

   to contribute to the world around them.” (Exh. 1 Letter of Eduardo Pines). The

   Nanninis have learned that lesson.

                                     II. LEGAL STANDARD

         The Court is familiar with the legal standards that apply to sentencing: The

   Sentencing Guidelines are only an initial benchmark, to be considered in conjunction

   with multiple other factors in fashioning an appropriate sentence. Gall v. United

   States, 552 U.S. 38, 49-50 (2007). To treat the Guidelines as mandatory or even as

   presumptively reasonable is error. Rita v. United States, 551 U.S. 338, 351 (2007).

         In reaching an individualized sentencing decision, the Supreme Court’s

   overarching instruction is that the Court “impose a sentence sufficient, but not

   greater than necessary,” to accomplish the goals of sentencing set forth in 18 U.S.C.




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   § 3553(a). Kimbrough v. United States, 552 U.S. 85, 101 (2007). The Court

   considers every person as an individual, and every case as unique. Gall, 552 U.S. at

   53.

         A. The history and characteristics of Mauro and Federico Nannini

         1. Three generations of Nanninis

         Mauro’s father, Federico’s grandfather, was born into a very poor family in

   Florence, Italy, during the hardships following World War II. At the age of 30,

   Mauro’s father was given the opportunity to migrate to Venezuela and start over.

   With little to his name, Mauro’s father began working at a bank in Venezuela, rising

   through the ranks until he had the opportunity to branch out on his own. He became

   an entrepreneur, first establishing a heavy tooling machinery company and later

   expanding into various industries, including automotive manufacturing and

   hardware retail. Mauro’s father is 95 years old and has written a letter to the Court

   in anticipation of sentencing.

         Mauro, who is 63 years old, was born in Valencia, Venezuela, in 1961, and

   moved to the US in 1994 and was naturalized as a U.S. citizen in 2004. Mauro

   attended Catholic school and grew up witnessing his father’s hard work and

   determination, which instilled in Mauro a strong work ethic and foundation for

   success. Mauro attended the Universidad Metropolitana in Caracas, earning a degree

   in civil engineering in 1982.




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         Mauro’s dream was to start his career in construction, but a severe economic

   downturn in Venezuela brought the construction industry to a standstill soon after

   Mauro graduated college in 1982. Mauro sought employment in the financial sector

   and became a stockbroker in the Caracas Stock Exchange.

         While working as a stockbroker, Mauro met his now-wife Claudine; he was

   27 years old, she was 20. Reflecting back, Claudine remembers that “[w]hat … stood

   out to me was his devotion to his family. Mauro’s example of being a loving son

   tending to his parents every single day of his life since I met him, being a loyal

   brother, a reliable friend, and a man of integrity made me realize he would be an

   exceptional husband and father—and I was right.” 1

         Before Mauro and Claudine embarked on their journey to the United States,

   they faced a devastating tragedy in Venezuela.

         2. The kidnapping of Mauro and Claudine Nannini




   1
    The letters in support of Mauro are attached as Exhibi 1 and the letters in support of
   Federico are attached as Exhibit 2.




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         3. Starting over in the United States

         Mauro and Claudine arrived in Miami in 1994 and stayed at Claudine’s

   father’s apartment while they worked to rebuild their lives. Mauro pursued several

   business ventures, and eventually settled on real estate development. With the help

   of his father and father-in-law, Mauro founded 4N Development Company, LLC, a

   construction company specializing in single-family homes in Coral Gables, Coconut

   Grove, and South Miami. From 2000 to 2018, Mauro built a successful development

   company through the same work ethic and care for his employees that Mauro had

   learned from his father. Guillermo de la Paz, Mauro’s longtime friend and business

   partner, describes Mauro as an empathetic and hands-on employer:

         Mauro led by example, making it a point to show up to work daily,
         eating breakfast with the laborers in the morning and working late into
         the night. While other subcontractors were getting robbed of their labor
         and not getting paid, Mauro stepped up to continue and provide job
         opportunities. He wasn’t the kind of developer that never visited the
         jobsite, nor the kind that thought he was above others. Mauro’s empathy
         and ability to think outside himself has always been his character, it’s
         how we will remember him.

   (Exh. 1 G. de la Paz). Samantha Rivero, who has known Mauro since childhood,

   witnessed Mauro’s work ethic firsthand when she purchased a home that Mauro was

   building:




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         During the construction, I visited the site daily after dropping my
         children off at school, and Mauro was always present - either
         overseeing the workers or ensuring everything was progressing
         smoothly. He treated everyone with the utmost respect, and his genuine
         care for the project was evident in every detail of the home.

   (Exh. 1 S. Rivero) Mauro’s dedication and hard work were the driving forces behind

   his construction firm’s success. And Mauro carried these same principles into raising

   his family.

         4. A family built on love and commitment

         After arriving in Miami, Mauro and Claudine started a family and now have

   three children—Mauro (29), Isabella (28), and Federico (26). Coming from a family

   background of emotional abuse, Claudine initially feared raising a family of her own.

   She doubted whether she could build a healthy, loving family, but “Mauro changed

   that for” her. (Exh. 1, C. Nannini). “He taught me that family isn’t about where you

   come from but about the values, love, and commitment you create together. His

   kindness, patience, and dedication gave me the strength to break the cycle of

   dysfunction and give our children a stable, loving home.” Id.

         Isabella’s godmother, who has known Mauro for over 40 years, describes the

   Nannini family as inseparable and admires their deep bond and devotion to one

   another: “Their children, Mauro, Isabella and Federico have been raised with

   beautiful family values, educated with integrity, respect, love and gratitude. They

   are an inseparable family, united by love, endless support, and a deep commitment




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   to always caring for one another.” (Exh. 1 C. Delano). Isabella says that Mauro “is

   not just a great father—he is the best person I know.” (Exh. 1, I. Nannini).

         Federico has followed in his father’s footsteps, continuing the traditions and

   values that define their family:

         Fede is a family man in every sense of the word. He has always been
         devoted to his parents and, above all, his only sister, Isa. It is truly
         heartwarming to see the love and patience he has for her—He treats her
         like a princess, and that is just a small reflection of the kind of man he
         is.

   (Exh. 2 C. Osio). Federico’s sister, Isabella, describes Federico as “a deeply caring

   and compassionate person. He has always been there for me, constantly checking in

   and offering support, whether it’s for big life events or simply to make sure I’m

   okay.” (Exh. 2 I. Nannini). Federico’s mom talks about how attentive he is to the

   family and devoted to her: “Through it all, Federico has been an incredibly special

   son to me. He is deeply caring and attentive, knowing what suffering feels like,

   always worrying about me—whether it’s work, family, or my emotional well-

   being.”(Exh. 2 C. Nannini).

         Isabella is pregnant (due in May) and Federico eagerly awaits to become an

   uncle, and Mauro a grandfather, for the very first time. “The news of his first

   grandchild arriving in May 2025 brought him [Mauro] to tears.” (Exh. 1 C. Delano).

   This is a photograph of the Nannini Family:




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         Above all, Mauro and Claudine have raised their children with a heart toward

   giving, making it a family tradition to regularly give to those in need. In her letter to

   this Court, Isabella wrote about the values her dad instilled in her and her brothers:

   “My father’s character is defined by his service and compassion, and through his

   example, he has passed down the values of kindness and giving to our family.” (Exh.

   1 I. Nannini).

         5. Mauro’s goodwill

         Mauro has had a giving heart since he was young. Back in Venezuela, when

   he was 12 years old, Mauro started volunteering with Fe y Alegria at the Colegio



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   San Ignacio de Loyola. 2 Fe y Alegria is a global movement focused on providing

   quality education, social development, and opportunities to the poorest sectors of

   society. (www.feyalegria.org/la-educacion-popular-es-nuestro-camino/). Mauro’s

   childhood friend, Oscar Eduardo Sabater, remembers how together they would

   “sell[] tickets for fund raising events or donat[e] used clothes to those in need. We

   also contributed food to school cafeterias serving underprivileged children and spent

   time at their schools, engaging in sports activities such as soccer and baseball.” (Exh.

   1 O. Sabater). “Mauro was always the one encouraging us to be more active in these

   social groups,” Alejandro recalls. (Exh. 1 A. Rodriguez).

         When Mauro moved to the U.S., he continued his legacy of community

   service. For over a decade, Mauro has been involved with Fundacion Techo, which

   provides comprehensive care to people living in extreme poverty in Latin America.

   (Exh. 1 Fundacion Techo letter by M. Gomez). Morella Gomez, the general director

   of Fundacion Techo, describes in her letter Mauro’s contributions over the years:

         I have had Mauro’s unconditional support in fundraising activities, as
         well as his constant concern and willingness to assist with the various
         Foundation programs. Despite not living in Venezuela, Mauro has
         always shown sensitivity toward the most disadvantaged, consistently
         seeking ways to help through NGOs such as Fundacion Techo. Since
         more than 10 years ago, Mauro has been one of the main contributors
         of The Basic Care Program, donating gently used clothing, as well as
         non-perishable food, personal hygiene supplies, and first aid items.

   2
     Exhibit 1, letter of Juan Domingo Perez (recounting how Mauro and him began
   volunteering with Fe y Alegria at just 12 years old).




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   Id.

         For the last decade, Mauro has also been deeply involved with Parroquia

   Nuestra Señora de la Candelaria. “His regular contributions help provide meals to

   the most vulnerable members of our community, mainly elderly individuals and

   unemployed persons who rely on the parish for weekly food aid.” (Exh. 1 Parroquia

   Nuestra Señora de la Candelaria letter). Mauro’s efforts were especially helpful

   during the pandemic, when “churches were forced to close their doors” and their

   “income dropped to zero”:

         Mr. Nannini took it upon himself to send enough food supplies, meat,
         flour, eggs, to sustain the parish for an entire month. Thanks to his
         generosity, we were able to provide for the priests and staff members
         who depended on the parish for their daily meals. His assistance during
         the pandemic was a crucial lifeline, ensuring not only the parish’s
         survival but also that employees retained their jobs.

   Id.

         Mauro has also donated money to churches in Miami, such as the Saint

   Theresa Parrish Church of the Little Flower (from 2000 to 2006), and churches in

   Latin American countries like the San Pedro Masahuat, in La Paz, El Salvador.

   Mauro’s “unwavering commitment—through generous financial donations,

   clothing, shoes, and food, as well as [his] heartfelt dedication to helping those most

   in need within our community—has made a significant difference in the lives of

   countless individuals.” (Exh. 1 San Pedro Masahuat, La Paz, El Salvador).




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         Mauro raised Federico and his two other children to have a practice toward

   giving, teaching them to hold onto only what is essential so they can give to those in

   need. Mauro’s daughter explains in her letter:

         Beyond his volunteer work, he has instilled in me and my siblings the
         importance of generosity and living without excess. For example,
         during Christmas, we collect toys to donate to orphans. Additionally,
         since childhood, we have regularly donated clothing and other items to
         those in need, and whenever natural disasters have affected our
         community, our family has always found ways to contribute.

   (Exh. 1 I. Nannini). Mauro and his wife Claudine also participate in a program

   called Children International, where they sponsor children in need in Colombia, the

   Dominican Republic, and other countries. Mauro and Claudine have been involved

   with Children International since 1996. As part of the program, Mauro and Claudine

   are assigned to specific children who they support by sending care packages with

   essential items and providing financial support to ensure the children have access to

   education, which would otherwise be out of reach. (Exh. 1 C. Nannini).

         The Nanninis and their sponsored children exchange letters of support and the

   children often send updates on their education and activities. One of their sponsored

   children from throughout the years, Pamela Rodriguez Placido, wrote to them

   (before Mauro was arrested) saying how much she appreciates Mauro and

   Claudine’s support: “I thank you for everything you have done for me. I thank you

   for all the gifts you have provided for me. I hope you are doing well . . . I have many




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   friends and I share lots with them during the recreation time in school. I like the

   school. May God bless you.” (Exh. 1 P. Rodriguez Placido).

         Mauro is currently a volunteer with Orden de Malta in Miami, a humanitarian

   organization that provides medical aid, disaster relief, and support for the poor and

   sick worldwide. This volunteer work started two years ago (before Mauro was

   arrested). Once a week, Mauro helps assemble care packages, gather groceries, cook

   and serve food, and create a welcoming space where the poor and elderly can share

   a meal together.

         Mauro’s goodwill extends to anyone he knows is in need. His wife Claudine

   remembers the time when their gardener, while doing work on someone else’s yard,

   was tragically struck by lightning and passed away: “The news devastated us all, but

   Mauro’s immediate reaction left a profound impact on me. Without hesitation, he

   went to the funeral home and paid for all the funeral and burial expenses. He did so

   quietly and without seeking recognition, purely out of compassion for the gardener’s

   grieving family. His kindness eased the unbearable burden of unexpected costs

   during such a heartbreaking time. It was an act of selflessness that surprised the

   gardener’s family and brought them some measure of comfort during their sorrow.”

   (Exh. 1 C. Nannini).




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            6. Mauro’s prostate cancer and his mental health after the arrest

            In 2023, a prostate biopsy tested positive for a malignant neoplasm, and a

   second opinion later that year confirmed a prostate cancer diagnosis for Mauro. 3 As

   a consequence of this diagnosis, Mauro is under active surveillance, requiring lab

   tests and studies every three months to monitor the progression of his condition. The

   medical regimen includes




            Prostate cancer can be treated with a high degree of success but only if testing

   is performed on a regular and timely basis as Mauro does now, so that if medical

   intervention is needed—for example radiation or full prostate removal—these

   treatments are undertaken immediately so that the cancer does not spread outside the


   3
       Exhibit 3 at 3, 12 (M. Nannini’s medical records, to be filed under seal).



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         cannot concentrate. His thoughts are scattered, and he struggles to find
         his words—something so uncharacteristic of him. He has sought
         treatment with a psychiatrist to help him heal. I see the toll this has
         taken on him emotionally, and I know that as a father, he carries an
         even heavier burden.

   (Exh. 1 C. Nannini).

         Mauro has also suffered tremendously as a result of the shame, fear, and

   remorse he feels for the crime he committed.




                                            Mauro carries a deep sense of guilt for his actions.

   His daughter describes how difficult it is to see Mauro in this condition:

         [T]he weight of this situation has deeply affected him. He is no longer
         the happy, carefree person he once was. The stress and remorse he feels
         have caused a significant shift in his personality, and it is painful for
         me to see the man I've always known struggle so much. The burden of
         this mistake has weighed on him emotionally, and it's evident that this
         has taken a toll on his overall well-being.

   (Exh. 1 I. Nannini). His friend John Keeler describes in his letter how Mauro

   “shamedly admitting his wrongdoing and pleading guilty was a natural on him,” and

   that “the consequences to his emotion and physical health are negatively

   unsurmountable” as Mauro is “living every day with the overwhelm sense of

   remorse, that his action violated the law and affected others, which his selflessness

   nature is to make a significant impact on his loved one, the community, and fostering

   kindness generously.” (Exh. 1 J. Keeler).



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         It is with this deep remorse that Mauro stands before the Court for sentencing.

         7. Federico’s challenges growing up

         Federico was born in Miami in 1998, the youngest of Mauro and Claudine’s

   three children. Claudine remembers that Federico “came into our lives under

   difficult circumstances.” (Exh. 2 C. Nannini). Claudine was working full time at

   AXA Advisors while also raising Mauro and Isabella, who were just one and two

   years old. “When Federico was born, we faced an unexpected reality: he was

   diagnosed with an extremely rare condition called hypertrichosis lanuginose, in

   which his body and face were completely covered in black hair, from his head to his

   feet.” Claudine did everything she could to help Federico:

         I took him to endocrinologists, specialized pediatricians,
         dermatologists, neurologists, psychologists, and other specialists. I also
         subjected him to painful treatments at a very young age, such as laser
         and constant shaving, hoping to offer him an alternative so he wouldn't
         have to live with this condition his entire life. My goal was always to
         protect him and give him a chance to live without the stigma his
         appearance imposed on him.

   (Exh. 2 C. Nannini). But still, Federico endured constant bullying growing up, as his

   mom states: “[D]espite my efforts, Federico faced constant bullying from the

   moment he started school.” (Exh. 2 C. Nannini). Claudine “had to intervene many

   times, speaking with teachers, coaches, tutors, and even the mothers of other children

   to try to shield him.” Id.




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         Federico’s friends remember the difficulties Federico had to overcome, facing

   “relentless bullying at school for his hairy arms.” (Exh. 2 B. Dierickx). “Kids cruelly

   nicknamed him ‘Chewbacca,’ and ‘monkey’ although he laughed it off publicly, I

   saw how much it wounded him.” Id. Claudine recalls how Federico tried to conceal

   his pain to spare her from worry: “Even though I knew it deeply hurt him, he would

   often hide his pain to protect me from seeing him suffer.” (Exh. 2 C. Nannini).

         Federico tried to respond to the bullying with empathy and resilience, but in

   reality he was broken inside. As the Court knows, the damage that bullying can cause

   a young person can be quite severe and long-lasting, leading to depression and

   anxiety, low self-esteem and low self-worth, and struggles with personal

   relationships, whether socially or later in life at work. Federico’s close childhood

   friend, Brandon, recalls a time when Federico’s older brother tried to intervene and

   defend Federico from the bullying: “Federico’s response stayed with me: ‘People

   act mean when they’re hurting inside.’” (Exh. 2 B. Dierickx).

         By high school, Federico was shaving his body to try to hide the condition

   that made him most vulnerable to bullying, and he was eventually able to have

   successful laser hair removal treatments. Yet, Federico tried not to let bitterness take

   root. Instead, he tried to turn his struggles into a source of encouragement for others,

   including by volunteering with organizations that helped kids with educational or

   developmental disabilities. Federico’s friend Brandon remembers the time that




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   Federico reassured another friend who was mocked for acne: “Don’t let words make

   you hate yourself.” Id.

         Matias Gonzales, a longtime friend of Federico’s since middle school,

   believes that Federico played a pivotal role in shaping the person he is because of

   Federico’s support during Matias’ own experience with bullying:

         Federico stood by me during times of insecurity and self-doubt in both
         middle school and high school, constantly encouraging me to believe
         in myself and block out any negative noise. As I was faced with
         bullying, Federico would remind me of my worth and would help me
         respond to negative comments with confidence. His belief in me helped
         me regain my self-esteem, and his wavering support during those
         formative years has had a lasting impact on my life. I cannot adequately
         express how meaningful that support was during such a difficult time
         in my life.

   (Exh. 2 M. Gonzalez).

         Being the target of relentless bullying because of how he looked was not the

   only hardship Federico faced growing up. Federico was also diagnosed with severe

   Attention Deficit Hyperactivity Disorder and an auditory and visual processing delay

   by the time he was 12 years old. See Exhibit 4 (

                      to be filed under seal). 6 As a result of his diagnosis of ADHD,




   6
     See also Exh. 2, letters of Claudine Nannini and Isabella Nannini. Federico continued to
   receive accommodations (for example, extended time) in college.




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   This was corroborated by Federico’s mom, who states in her letter that “[f]rom an

   early age—even as a toddler—I noticed Federico’s impulsivity and disorganization.”

   (Exh. 2 C. Nannini).

         Federico’s mom noticed that Federico’s “impulsivity also affected his

   decision-making and judgment. At times he would make hasty choices without fully

   considering the consequences, acting on emotion rather than reason.” (Exh. 2 C.

   Nannini). Federico’s mom remembers that it was difficult for Federico to fit in as a

   child: “He often felt the need to prove himself in social situations, sometimes

   speaking out of turn, making impulsive remarks, or behaving in ways he thought

   were funny, even when they weren’t. He tried to fit in but sometimes it was difficult

   and awkward.” Id. “These challenges significantly impacted his academic and social

   performance and affected all executive brain functions, particularly in the frontal

   lobe.” Id. Looking back at Federico’s conduct in this case, Claudine can see how

   Federico shared the confidential information with his father and Thermiotis

   impulsively, immediately after receiving it. Id.

         At Gulliver, where Federico attended middle and high school, students with

   learning disabilities were typically separated from their peers and sent to another

   campus for classes. Due to his ADHD and processing delays, Federico was among

   those placed in this program. (Exh. 2 A. Antisdel). “While it helped academically,




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   being separated from mainstream education affected his self-esteem even more.”

   (Exh. 2 C. Nannini). This isolation made it more difficult for Federico to develop his

   confidence and he grew up longing to fit in.

         8. Federico continues his father’s commitment to goodwill

         Federico, who is 28 years old, also became involved in giving back to the

   community at a young age. In his sophomore year of high school, Federico began

   volunteering with Best Buddies, an organization dedicated to fostering inclusion and

   opportunities for children with learning and developmental disabilities. Twice a

   week for two years, Federico would stay after school and assist younger children

   with hands-on activities to help foster a fun and supportive environment.

         In partnership with Best Buddies, Federico volunteered on weekends to help

   host the Special Olympics at the prep school, becoming the chairperson for these

   events. As stated by Melissa Sullivan, the Principal of Gulliver Prep, “Federico’s

   commitment to service was equally impressive. He played a pivotal role in the

   success of the Gulliver Prep Special Olympic 5K Run and the Special Olympics

   Track and Field Games. As Chairperson of these events, he took on various

   responsibilities enthusiastically and reliably, ensuring their success.” (Exh. 2 M.

   Sullivan). And during college, Federico volunteered for an organization called

   2+2=5, which helps children with disabilities develop cognitive skills.




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           Since his arrest in this case, Federico has focused on rebuilding his life and

   his character. He recognizes that he cannot undo the conduct that brings him before

   the Court for sentencing, but he believes that he can start to make amends by giving

   of himself to folks who are desperate and struggling in dire situations. Federico

   began volunteering every Tuesday night at Choose Love Foundation. (Exh. 2 G.

   Cordell, Choose Love Foundation letter). Federico spends those nights gathering

   clothing, essential items and food, and lending a helping hand or friendly ear to the

   homeless community in Miami. This is the mission of Choose Love Foundation: to

   provide food and essential items to alleviate the daily struggles of homeless people

   and listen to their stories to help them in any way we can.7

           Federico’s girlfriend, Carina Yates, describes in her letter how this volunteer

   work has impacted Federico: “After every session, he tells me stories about the

   people he’s met and the connections he’s formed, and it’s clear how deeply these

   experiences have affected him. I believe this has had a profoundly positive impact

   on him, as he has built friendships with like-minded volunteers who share his

   commitment to giving back.” (Exh. 2 C. Yates).

           This is consistent with Federico’s nature of looking out for others. Federico’s

   good friend, Julian Cruz, recalls the time when they were out on a group dive and




   7
       www.chooselovefoundation.com



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   Julian was swept away by a rip current, getting lost from the group and almost losing

   his life. Federico saved him:

         Federico and I are both avid divers, and during a routine outing here in
         South Florida, I had run out of strength and had fallen victim to a
         powerful rip current in shallow waters. Of the 3 other divers, only
         Federico noticed I was missing and convinced the others to commence
         a search. By that time I had drifted quite far away in a semi-conscious
         state and would likely have not been found had it not been for his
         mindfulness, quick thinking, and predisposition to concern for others. I
         quite literally owe him my life.

   (Exh. 2 J. Cruz).

         B. The nature and circumstances of the offense support a downward
         variance

         As they both admitted in their plea agreements, Mauro and Federico are guilty

   of insider trading while Federico was working at Berkley Research Group (BRG).

   Mauro profited approximately $145,000 from placing stock trades over a span of

   two months in 2022 based on non-public information he received from Federico that

   Federico obtained as a result of his job at BRG. Mauro’s actions were limited to

   trading on the stock for himself.

         Mauro made a terrible mistake and committed a crime for which he is

   exceedingly remorseful and ashamed. There are days when Mauro is emotionally

   consumed by what he has done as he tries to rebuild his life with the reality that he

   violated the law, betrayed his family, failed in his role as a father, and destroyed his

   reputation and legacy in the financial world. Mauro has taken full responsibility for




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   his actions, is facing sentencing in this criminal case which will brand him a felon

   for life, has agreed to forfeit approximately $180,000, is facing a possible civil

   financial penalty in the related SEC case, and a possible restitution order in this case.

         Federico was entrusted with confidential information while he was working

   at BRG, and he revealed that information to two of the most important people in his

   life—his dad and his best friend (co-defendant Thermiotis). Federico profited zero

   dollars from this insider information or from his conduct. He did not trade on the

   stock, did not intend to make any money for himself, and made zero profits from his

   actions. His base offense level of 8 (0-6 months) is being increased 14 points to a

   level 22 (41-51 months) as a result of the almost $2,000,000 investment made by

   Thermiotis in the stock, which yielded Thermiotis almost $1,000,000 in profits and

   which Thermiotis did not share with Federico. As Thermiotis told the government

   during one of his debriefings, Federico did not want anything for providing the

   insider information to Thermiotis but Thermiotis insisted, so Federico texted a photo

   of a Rolex watch, which costs approximately $30,000. Federico never got the watch,

   or anything else from Thermiotis.

         That Thermiotis, a 24-year-old friend, would invest almost two million dollars

   in the stock or gain almost a million dollars from the trades was not something

   Federico ever imagined. Federico neither directed the trades nor was aware of the

   magnitude of the investment. But because Federico was the insider, the Guidelines




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   (2B1.4) propose to hold him responsible for the gain of those he tipped (Mauro and

   Thermiotis), even if the amount traded and gained by Thermiotis was not anticipated

   by Federico and even if Federico himself gained zero dollars. For Federico, his

   proposed guideline range is grossly and arbitrarily exaggerated and is a significant

   overstatement of his conduct. If the Court views gain, or greed, as a benchmark for

   determining Federico’s sentence, then the value of the $30,000 Rolex would increase

   Federico’s base offense level of 8 by 4 points to a level 12 under U.S.S.G. §

   2B1.1(b)(1)(C) (more than $15,000 but less than $40,000), which would yield an

   advisory guideline range of 10-16 months before taking into account a reduction for

   acceptance of responsibility.

         Unlike many other insider trading cases, this case was not a carefully planned

   elaborate criminal scheme by Mauro or Federico to engage in an ongoing pattern of

   capitalizing on inside information. Neither Mauro nor Federico harbored any

   nefarious or venal motive. Federico received confidential information which he

   revealed almost immediately to his father and best friend, and neither Federico nor

   Mauro made any deliberate effort to cause harm to BRG or BRG’s client, investors,

   the market, or the public.

         Mauro and Federico recognize that there is an inherent harm caused by insider

   trading, but ask that the Court also consider, when fashioning a sentence, that the

   insider trading offense in this case aligns more closely with a regulatory non-violent




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   offense where Federico gained $0 and Mauro gained approximately $145,000, a

   modest amount when compared to the heartland of insider trading cases.

         At the time of the offense, Federico was 24 years old and BRG was his first

   full-time job after college. Federico’s conduct was not driven by greed or malice but

   by very poor judgment and by impulsivity, which is consistent with his pre-existing

   ADHD diagnosis. As the Indictment states, Federico received access to the

   confidential information on June 7, 2022, and that night or the next day, shared the

   information with his father. Mauro purchased shares of IEA on June 8, 2022. (ECF#3

   at 9, ¶2-3). Thermiotis purchased IEA stock on June 15, 2022 (ECF#3 at 9, ¶8); see

   also Government’s Opposition to Nanninis’ PSI Objections, ECF#86:4 (“Federico

   began illegally tipping his father, Mauro Nannini and his friend, co-defendant

   Alejandro Thermiotis, almost immediately (see ¶27, Mauro Nannini began buying

   IEA on June 9, 2022)”). Federico’s actions were also driven by a deep-rooted

   insecurity stemming from his difficult childhood and a desire to be valued and

   validated as someone who was finally doing important work. Obviously, Federico’s

   ADHD, impulsivity, and childhood traumas stemming from all the bullying do not

   excuse his conduct, but these experiences help explain Federico’s actions and

   perhaps answer the question that is likely in the Court’s mind as to why Federico

   committed this offense.




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           Finally, the circumstances of this case have placed Federico in an untenable

   position of having to decide whether to seek a lenient sentence from this Court,

   thereby risking that the SEC will look to impose a penalty against him in excess of

   $1 million in the civil case. As the Court is aware, the SEC filed a parallel civil action

   against all the defendants in this criminal case, and both Mauro and Federico agreed

   to entry of consent judgments in the SEC case as part of their acceptance of

   responsibility and guilty pleas in this case. SEC v. Nannini, et. al., Case No. 24-cv-

   23531 (ECF#46). Pursuant to 15 U.S.C. § 78u-1, the SEC proposes that it can seek

   a monetary penalty against Mauro and Federico in an amount up to three times their

   respective “gain.”

           For Mauro, the SEC has indicated that if he is sentenced to less than a year in

   prison, the SEC will likely seek a civil penalty against him of approximately

   $360,000, which is twice the amount of the forfeiture to which Mauro agreed in this

   case.

           For Federico, the SEC has indicated that if he is sentenced to less than a year

   in prison, the SEC is likely to seek a penalty against him of approximately $1.1

   million, which is the sum of Thermiotis and Mauro’s gain. However, if the Court

   sentences Federico to more than a year in prison (i.e., a year and a day), the SEC has

   indicated that it is likely to not seek a monetary penalty against Federico, freeing

   Federico from the weight that a $1.1 million civil judgment would place on him as




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   he tries to rebuild his life while suffering all the collateral consequences of a felony

   conviction. Federico does not have the means to pay the SEC a $1.1 million

   judgment, so even if Federico paid the SEC $500 a month every month for the rest

   of his life, Federico still will not have paid off such a judgment at his death,

   regardless of how long he lives.

        C. The purpose of sentencing

         The Sentencing Guidelines direct that each sentence should be determined

   based on the relevant facts and circumstances, to (A) reflect the seriousness of the

   offense, promote respect for the law, and provide just punishment for the offense;

   (B) afford adequate deterrence to criminal conduct; (C) protect the public from

   further crimes of the defendant; and (D) provide the defendant with needed

   educational or vocational training, medical care, or other correctional treatment in

   the most effective manner. 18 U.S.C. § 3553(a)(2).

         As the Supreme Court has noted, “these four considerations—retribution,

   deterrence, incapacitation, and rehabilitation—are the four purposes of sentencing

   generally, and a court must fashion a sentence ‘to achieve the[se] purposes ... to the

   extent they are applicable’ in a given case.’” Tapia v. United States, 564 U.S. 319,

   324 (2011) (quoting 18 U.S.C. § 3551(a)).

         A sentence of home confinement with conditions for Mauro and Federico fits

   these purposes.




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         MAURO NANNINI

         1. Mauro accepted responsibility for his actions promptly after his arrest

         Mauro and Federico were arrested on September 13, 2024. Within a week of

   their arrest, undersigned counsel initiated discussions with the government about

   resolving the case. Neither Mauro nor Federico wavered on their decision, made at

   the outset of the case, to plead guilty and accept responsibility for their actions. Their

   actions reflect their remorse and the repudiation of their wrongdoing.

         Mauro also agreed to forfeit $180,328.41, and he transferred those funds to

   undersigned counsel’s trust account shortly after the change of plea, where the funds

   remain available for payment to the government upon sentencing.

         By agreeing to plead guilty from the start of this prosecution, Mauro expressed

   a clear and definitive recognition of his responsibility, as opposed to denying or

   disputing the charges. Mauro also demonstrated that he is prepared to face (rather

   than avoid) the consequences of his conduct, and has sought ways to make reparation

   for the harm he has caused. Mauro’s early acceptance of responsibility shows

   accountability and a demonstration of remorse, which is the beginning of the process

   of making amends for his wrongful actions.

         This offense has been a source of agonizing guilt, shame, and distress for

   Mauro. As Federico’s father, Mauro was given the unique responsibility to guide

   Federico, to teach him by example the values of integrity, honesty, and hard work.




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   When Mauro had the opportunity to show Federico the importance of integrity in

   safeguarding the confidential information Federico had, Mauro failed. That failure

   weighs on Mauro every single day. The Court probably hears many people say they

   wish they could go back in time and make a different decision—for this father, the

   anguish of not having made a different decision with his son and not being able to

   change the past is gut-wrenching.

          2. Mauro’s conduct was an isolated event that does not reflect the core of his
          character

         The conduct that brings Mauro before the Court is an isolated and short-lived

   divergence from Mauro’s law-abiding life, dedicated to service and positive impact

   in his community and at home. Mauro has been a respected businessman, an active

   member of the community, a valued volunteer with various charities, and a dedicated

   son, husband, father, and friend to many. Mauro’s wrongdoing was an out-of-

   character, isolated mistake that did not involve significant planning over a prolonged

   period of time. He was not involved in widespread manipulation of the market,

   making his conduct distinguishable from more egregious cases of insider trading.

         Throughout his life Mauro always sought to be a positive influence and set an

   example for his children, including Federico. Mauro’s decisions in this case show

   that his judgment was obviously clouded and wrong, but he was not acting out of

   malice or a desire to cause anyone harm. As Mauro’s wife writes in her letter, this




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   offense was completely uncharacteristic when viewed in the context of Mauro’s

   entire life:

          When the FBI came to our house on the morning of September 13 and
          said Mauro was being arrested for insider trading, my initial reaction
          was not one of worry but of relief because, in my mind, I thought, this
          must be a misunderstanding. Knowing Mauro, I believed this would be
          resolved quickly because he has always been a law-abiding citizen who
          holds himself to the highest standards. Instead, this situation has
          spiraled into something deeply painful. . .

          The impact of this case has been devastating—not just for Mauro, but
          for our entire family, especially our son Federico. I have watched them
          both carry an unbearable weight of guilt, shame, and remorse. Mauro
          has been completely distraught . . . , asking me for forgiveness over and
          over again, accepting full responsibility for what he did and struggling
          to reconcile how he, a man who has lived his entire life as an example
          of integrity, lost his way, committed this offense, and now finds himself
          in this position of appearing before you to be sentenced for his actions.

   (Exh. 1, C. Nannini).

          The letters submitted for Mauro show that Mauro’s wrongdoing stands in

   stark contrast to the man he has been throughout his life. “This is not the Mauro we

   know—he has always been a man of integrity, a pillar of strength for his family and

   community. What occurred was entirely out of character and a terrible mistake, one

   that does not define the person he truly is.” (Exh. 1 J. Roney).

          Gustavo Machado, who has known Mauro for over 50 years, writes about the

   difficulty in putting into words just how kind Mauro has been his entire life: “We all

   know how difficult it is to express all the kindness of a good friend and person in

   two pages, sometimes like somebody said ‘sobran las palabras’. . . . While Mauro



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   acknowledges his error, I humbly plead not to let one mistake define him and

   outweigh his years of dedication and unwavering commitment to his family and

   community.” (Exh. 1 G. Machado).

         Oscar Sabater, who has known Mauro since they were only 6 years old, talks

   about Mauro’s lifelong commitment to generosity: “Throughout the years, I have

   seen Mauro consistently demonstrate his generosity and attentiveness to the needs

   of his family and close friends. He has always been present, offering his time and

   support without hesitation.” (Exh. 1 O. Sabater). “They [Mauro and his father] are,

   and always have been, the epitome of integrity. Knowing Mauro as I do, I have no

   doubt that this situation is not a reflection of his true character or his lifelong

   commitment to doing what is right.” Id.

         Alfredo Cohen, who has known Mauro for the last 45 years, sees him as a man

   of immense good: “Mauro’s actions over decades speak far louder than a single

   error, and I hope you can see him as I do: a person of immense goodness, deserving

   of understanding and mercy.” (Exh. 1 A. Cohen)

         These letters show that for decades, Mauro has prioritized generosity and

   service to others, and that his commitment to philanthropy is not performative—it is

   woven into the person he is. From his early days in Venezuela, fundraising and

   donating essentials to the less fortunate, to his continued efforts in the U.S., his

   actions reflect a deep-seated dedication to service. Whether through his longstanding




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   support of Fundacion Techo, his involvement with the Florida Breast Cancer

   Foundation, or his direct efforts feeding and providing for the poor through the

   Orden de Malta, Mauro’s generosity has touched thousands of lives across nations.

   His wrongdoing in this case is an aberration, and not a reflection of who he truly is.

   “Mauro’s actions over decades speak far louder than a single error[.]” (Exh. 1 A.

   Cohen).

         3. Mauro’s cancer diagnosis and no risk of recidivism support a sentence of
         home confinement

         Mauro’s cancer diagnosis is a very serious health condition that has been

   under strict treatment and surveillance by Mauro’s doctors. As described earlier,

   prostate cancer can be treated successfully as long as it is contained to the prostate.

   The recurrence of cancer in the prostate while Mauro is in custody would quickly

   deteriorate into a life-ending event with any delay in treatment by BOP, which would

   allow the cancer to spread. Medical testing and treatment within the BOP is

   inadequate and often long delayed, causing “federal prisoners [to] die from treatable

   conditions that are not diagnosed or treated in a timely way within the prison

   system.” Lawmakers Push for Federal Prison Oversight After Reports of Inadequate

   Medical Care, www.npr.org/2023/12/12/1218627629/lawmakers-push-for-federal-

   prison-oversight-after-reports-of-inadequate-medical- (“‘I’m deeply alarmed by

   reports that the Bureau of Prisons has demonstrated foot dragging when it comes to

   providing medical care to those in its custody,’ said Grassley, also a member of the



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   Judiciary Committee. ‘BOP needs to be held responsible for this failure and take

   action to raise its standards’”).

         An analysis conducted by NPR revealed that “more people in BOP custody

   died of cancer than any other cause from 2009 to 2020.” 8 In 2022, District Judge

   Dalton of the Middle District of Florida held BOP officials in contempt for allowing

   an inmate to waste away and die from what was otherwise a treatable cancer (and

   then lying about it). See United States v. Bardell, 6:11-CR-401, ECF#140 (M.D. FL.

   October 4, 2022) (contempt order, finding that “with timely diagnosis and treatment,

   Mr. Bardell’s attesting physician assessed his chances of survival at 71%” but

   instead BOP ignored Bardell’s medical needs and let him die). 9

         The medical situation within BOP is likely to deteriorate, “as Elon Musk and

   the Department of Government Efficiency (DOGE) continue slashing through

   federal agencies [and] the Bureau of Prisons remains in the cross hairs . . . Last week,

   pressure by DOGE to increase efficiency and reduce economic burden led to the

   BOP under the Trump administration’s direction to eliminate or cut in half retention

   bonuses for prison workers, [which Union officials say] are crucial in solving prison




   8
     www.npr.org/2023/09/23/1200626103/federal-prison-deaths-butner-medical-center-sick-
   inmates.
   9
    See also https://reason.com/2022/10/10/judge-holds-federal-bureau-of-prisons-in-
   contempt-for-allowing-man-to-waste-away-from-untreated-cancer/




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   staffing issues, both correctional and medical.” FCI Elkton and Other Federal

   Prisons Feeling Impact of DOGE, www.morningjournalnews.com/news/local-

   news/2025/03/fci-elkton-and-other-federal-prisons-feeling-impact-of-doge/.

         Thus, while incarceration is punitive for all defendants, it would be

   particularly punitive for Mauro if he does not receive the medical surveillance and

   various procedures he currently undergoes every three months to stay ahead of the

   cancer. These are relevant factors that the Court considers when determining what

   is a reasonable sentence for Mauro. See 18 U.S.C. § 3553(a)(2)(D) (requiring

   consideration of “providing . . . needed . . . medical care . . . in the most effective

   manner” when imposing a sentence); U.S.S.G. § 5H1.1 (policy statement on

   departure for age); United States v. White, 506 F.3d 635, 644 (8th Cir. 2007) (the

   “mandate” to consider a defendant’s history and characteristics “includes

   consideration of a defendant’s age and medical condition”); see also U.S.S.G. §

   1B1.13 (allowing for a reduction in sentence when the defendant is suffering from

   metastatic cancer, or serious medical conditions that require specialized medical care

   without which the defendant “is at risk of serious deterioration in health or death”).

         Additionally, Mauro is 63 years old, has no criminal history, and poses no risk

   of recidivism. The Sentencing Commission states that “‘age is generally a strong

   factor influencing the likelihood of committing a crime,’ with ‘older offenders . . .

   substantially less likely than younger offenders to recidivate following release.’”




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   United States v. Friedlander, 2021 WL 2661109, at *3 (M.D. Fla. June 29, 2021).

   Statistically, Mauro is unlikely to recidivate: The Sentencing Commission has found

   that recidivism rates decline as age increases.10

         In United States v. Clay, 483 F.3d 739 (11th Cir. 2007), the district court found

   that the defendant was not likely to re-offend and sentenced him to 60 months even

   though his guideline was 188-235 months. The Eleventh Circuit affirmed the

   variance, holding that a sentencing court is “require[d] . . . to consider characteristics

   of the defendant and the offense that make it more or less likely that the defendant

   will reoffend.” Id. at 745. Because the defendant had “fundamentally changed since

   his offense” and “pose[d] a lesser risk to the community,” the court was correct in

   granting a variance. Id. at 746; see also United States v. Cherry, 487 F.3d 366, 369-

   70 (6th Cir. 2007) (granting 43% downward variance where the defendant presented

   a low risk of reoffending); United States v. Prosperi, 686 F.3d 32, 48 (1st Cir. 2012)

   (affirming large downward variance where there was no risk of recidivism); United

   v. Nellum, 2005 WL 300073 * 3 (N.D. Ind. Feb. 3, 2005) (granting downward

   variance by relying in part on the Sentencing Commission’s study on aging inmates

   showing that ‘[r]ecidivism rates decline consistently as age increases . . . [U]nder §



   10
      U.S. Sentencing Comm’n, Measuring Recidivism: The Criminal History Computation
   of the Federal Sentencing Guidelines, A Component of the Fifteen Year Report on the
   U.S. Sentencing Commission’s Legislative Mandate at p. 12, 28 (May 2004),
   https://tinyurl.com/3udwt6mr.



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   3553(a)(2)(C), age of the offender is plainly relevant to the issue of ‘protect[ing] the

   public from further crimes of the defendant’”); United States v. Hernandez, 03-CR-

   1257, 2005 WL 1242344, at *5 (S.D.N.Y. May 24, 2005) (varying downward

   because “defendants ... over the age of forty ... exhibit markedly lower rates of

   recidivism in comparison to younger defendants”); United States v. Hodges, 07-CR-

   706, 2009 WL 366231, at *8 (E.D.N.Y. Feb. 12, 2009) (noting the “inverse

   relationship between age and recidivism” and “tak[ing] into account the defendant's

   age in fashioning his sentence”).

         FEDERICO NANNINI

         1. Federico accepted responsibility for his actions promptly

         Like Mauro, Federico also accepted responsibility for his wrongdoing from

   the start of this prosecution and agreed to entry of consent judgments in the SEC

   case, accepting responsibility for his actions and resolving that matter as well.

   Federico is a young man who made a grave mistake, but he was not driven by

   malicious intent or greed. Instead, Federico acted out of immaturity and impulsivity

   which is a hallmark symptom of ADHD, as well as the need for validation arising

   from years of childhood insecurity and emotional hardship. Although his challenges

   growing up do not excuse his actions, they do shed light on Federico’s conduct.

   Growing up feeling different and teased and ridiculed created insecurities and a need

   for validation. Unlike the heartland of insider trading cases where insiders like




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   Federico act out of greed, Federico acted out of an emotional need to gain approval,

   feel important and worthy, and to help his closest friends and family. The bullying

   and social isolation growing up created a deep-seated desire to be valued and

   accepted, leading him to make the bad decisions he made here.

         Federico did not financially profit from his actions and making money for

   himself was not Federico’s goal. This makes Federico’s conduct less culpable than

   the vast majority of insider trading cases. As Thermiotis told the government during

   debriefings, Federico did not ask for anything in return, and the subject of receiving

   a watch came up only after Thermiotis insisted. Federico’s involvement in this

   offense was the result of very bad and misguided judgment rather than malice or

   greed, and he has expressed sincere remorse for his actions.

         Federico did not fully appreciate the professional fallout from his actions, or

   that his breach of confidence of his employer BRG would have such significant

   consequences. Federico certainly did not harbor any intent or motivation to harm

   BRG, and considered his supervisor at BRG a valued mentor and someone he

   respected and admired. Federico was immensely thankful for this job and the

   opportunity that BRG gave him, and had no malicious intent to damage BRG or

   violate the trust that BRG placed in him for his own greed.

         During the hearing to place co-defendant Tonarely on pretrial diversion, the

   government commented to the Court that Federico lied to BRG about the FINRA




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   letter and that Thermiotis and Federico “deleted text messages and came up with

   false narratives justifying their trading.” ECF#79:11. Federico does not deny this.

   But he wants the Court to know that he was acting out of fear and panic, feeling

   overwhelmed by the seriousness of what he had done. This was the first time that

   Federico was involved in any criminal activity, and he was under extreme fear of the

   consequences. In fact, as part of discovery in this case, the government produced a

   Reddit page where, in August 2022 after the offense conduct, Federico had searched

   whether someone can go to jail for insider trading even if they lost money (like

   Mauro). Federico’s lies when presented with the FINRA letter, and his actions with

   Thermiotis and the texts, were not intended to make his offense worse. As a young

   man realizing the gravity of his wrongdoing, Federico’s actions were a misguided

   emotional panic-driven reaction that he acknowledges was wrong. From the moment

   he was arrested, Federico was remorseful and ready to plead guilty and admit his

   wrongful conduct.

         As described earlier, the letters submitted on Federico’s behalf show that he

   is a benevolent young man whose actions in this case are entirely inconsistent with

   his good character. He has devoted time and personal involvement in community

   and charitable causes, starting since he was in high school by helping children with

   learning and other disabilities, able to contribute meaningfully based on his own

   experiences. Federico has worked hard his whole life and has demonstrated




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   perseverance to overcome difficult personal and academic challenges. Federico’s

   dedication to his studies, working to gain admission to universities like Bentley, St.

   Gallen, and Georgetown, are inconsistent with someone who seeks shortcuts or

   dishonest gains. Federico’s longtime friend Brandon describes how, as a teenager,

   Federico avoided trouble and encouraged his friends to make ethical decisions, once

   advising against sneaking out at night by saying, “This isn’t worth losing trust over.”

   (Exh. 2 B. Dierickx). Perhaps those words of wisdom to his friend, spoken years

   ago, are the true measure of this young man.

         2. The advisory guideline range does not compute a fair penalty for Federico

         The sentence the Court imposes on Federico must balance all of the factors

   and goals of § 3553(a), and must be “sufficient, but not greater than necessary,” to

   achieve those goals. As courts and commentators have recognized, the outsized

   weight given to the loss / gain calculation under the 2B1.1 Fraud Table prevents

   guidelines sentences—and in particular Federico’s advisory guideline—from

   fulfilling this goal. See, e.g., United States v. Corsey, 723 F.3d 366, 380 (2d Cir.

   2013) (Underhill, J., concurring) (“[T]he loss guideline is fundamentally flawed,

   especially as loss amounts climb. The higher the loss amount, the more distorted is

   the guideline's advice to sentencing judges”).

         Under § 2B1.4, Federico is held responsible for “the total increase in value

   realized through trading in securities by the defendant and persons . . . to whom the




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   defendant provided inside information.” Because of this, Federico’s base offense

   level of 8 (0-6 months) is increased 14 points to a level 22 (41-51 months) solely as

   a result of the magnitude of Thermiotis’ $2M investment in the stock and $933K

   resulting gain. These are amounts that Federico never imagined and trading activity

   that Federico did not direct. Indeed, the amount of Thermiotis’ investment (and

   ultimate gain) was so monumental that, as noted in the PSI Report, “TD Ameritrade

   rejected [Thermiotis’ initial] trade because it was ‘a large order relative to the

   average volume of this stock.’” ECF#71:10.

         For Federico, then, his advisory guideline sentence is increased eightfold

   solely as a result of Thermiotis’ gains, which Federico he did not control or receive.

   Federico admits that he wrongfully shared the confidential information with

   Thermiotis, but Federico did not orchestrate or influence the trading or the scale of

   Thermiotis’ investment. For this reason, the Court should reject the advisory

   guideline proposed in the PSI report, as it does not result in punishment that reflects,

   as it should, an “individual assessment” of Federico, his personal culpability, and

   the factors that mitigate his critical mistakes.

         The unfairness and disparate impact of using the § 2B1.1 Fraud Table and

   Thermiotis’ gain as a measure of Federico’s criminality is best analyzed by Judge

   Rakoff in United States v. Gupta, where Judge Rakoff sentenced Gupta to 2 years in

   prison in an insider trading case where the gain was calculated at almost $5 million




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   under the § 2B1.1 Fraud Table. This amount was determined in large part by the

   guidelines “assign[ing] [Gupta] no fewer than 18 points for the resultant but

   unpredictable monetary gains made by the others, from which Mr. Gupta did not in

   any direct sense receive one penny.” 904 F. Supp. 2d 349, 349 (S.D.N.Y. 2012).

   Judge Rakoff described how the securities fraud guidelines deviate from the goals

   of sentencing by relying on “the huge increases” in the 2B1.1 Fraud Table, which

   are arbitrary and draconian: “The Guidelines’ calculations for this offense are no

   longer tied to the mean of what federal judges had previously imposed for such

   crimes, but instead reflect an ever more draconian approach to white collar crime,

   unsupported by any empirical data.” Id. at 351. In Gupta’s case (like in Federico’s

   case), the guideline range purporting to reflect “the proper measure of Mr. Gupta’s

   crime and punishment” was driven almost entirely by the monetary gain of Gupta’s

   codefendant, “in which Mr. Gupta did not share in any direct sense.” Id. This was

   contrary to the goals of sentencing:

         [T]he Sentencing Commission chose to focus largely on a single factor
         as the basis for enhanced punishment: the amount of monetary loss or
         gain occasioned by the offense. By making a Guidelines sentence turn,
         for all practical purposes, on this single factor, the Sentencing
         Commission effectively ignored the statutory requirement that federal
         sentencing take many factors into account, see 18 U.S.C. § 3553(a),
         and, by contrast, effectively guaranteed that many such sentences
         would be irrational on their face.

   Id. at 351. Similarly for Federico, the almost $1M gain by Thermiotis is the single

   biggest driver of Federico’s advisory sentence, resulting in a guideline that is



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   divorced from the objectives of Section 3553(a) and from common sense, and that

   does not reflect a reasonable sentence. See Kimbrough v. United States, 552 U.S. 85,

   108-110 (2007) (affirming downward variance where the guidelines fail to achieve

   § 3553(a)’s purposes).

         Similarly, in a sentencing for insider trading with gains of $7 million

   following the defendant’s conviction at trial in the Southern District of New York,

   Judge Kaplan declined to impose a guideline sentence under the loss table because

   there was “no evidence that [the defendant] knew or had any control over the size of

   the trading or the potential gains that he was enabling people to make.” United States

   v. Blaszczak et. al, 17-CR-357 (S.D.N.Y.) ECF#412:69-70. Judge Kaplan found that

   the loss table and guideline calculation were arbitrary and overrepresented the

   gravity of the offense:

         The second thing that's obvious from the long discussion we had earlier
         in the morning is that a very substantial driver of the adjusted offense
         level, and therefore of the advisory guideline ranges, is the gain amount.
         The trading gains. The reliance on loss amounts and gain amounts in
         determining sentencing guidelines rests on a generalization.

         The bigger the gain or the bigger the loss, the more serious is the crime.
         And for a rough rule of thumb, it's not a bad starting point. Reasonable.
         But it certainly isn't reasonable in some cases…[W]e have this table of
         amounts in the sentencing guideline and it is in some respects extremely
         arbitrary. . . [T]he logic of the table, in my personal humble opinion, is
         flawed. . .

         So while I’ve computed the guidelines according to the table, because
         I am required to do it, it’s my opinion that the guideline ranges derived
         from that table overstate the gravity of these crimes . . .



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         Furthermore, I'm troubled by the application of the loss and gain table,
         particularly to Mr. Worrall. He knew that the information he passed was
         going to go to people who were going to trade on the information. But
         I see no evidence that he knew or had any control over the size of the
         trading or the potential gains that he was enabling people to make. So I
         have a lot of trouble, more in his case than the others, holding him
         responsible for 100 percent of the $7 million in trading profits, even if
         otherwise that would have been appropriate. So that mitigates what I'm
         prepared to impose on Mr. Worrall. Both of those things.

    Id. at 67-70. Judge Kaplan sentenced Worrall to 20 months in custody, where the

    gain was $7 million. Id. at 72.

         5. Federico has suffered a devastating price for his wrongdoing

         “Today, the collateral consequences of a felony conviction form a new civil

   death.” United States v. Nesbeth, 188 F. Supp. 3d 179, 182 (E.D.N.Y. 2016).

   Federico has paid a devastating price for his wrongdoing, and life since his arrest

   has been punishing. Federico lost his dream job and the mentor he admired at BRG.

   His actions have cost him his reputation, he has lost his friendships, and he has

   tarnished his family’s name.

         After overcoming so much and devoting so many difficult years to his

   education, at 26 years old, Federico’s life has now been catastrophically changed.

   He has derailed his career. He will likely not practice the profession he worked so

   hard to attain. He has no job and no income. He will be a convicted felon, with no

   prospect of being employed in finance, the career of his dreams. He has had to suffer

   great humiliation, once again. No one who looks at Federico’s actions and the



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   consequences that have befallen him would be tempted to engage in insider trading,

   thinking that the consequences are minimal.

         Clarisa Osio describes Federico’s suffering: “Judge Ruiz, the weight of what

   has already happened is not lost on Federico. The consequences he’s faced go far

   beyond the courtroom. His name has been aggressively published in the media,

   turning what should have been a private lesson into an overwhelmingly public

   punishment. His reputation has been tarnished in a way that may never fully be

   repaired.” (Exh. 2 C. Osio). Federico’s sister describes how Federico has shattered

   his chances of pursuing the career of his dreams, and how “this mistake has undone

   everything he worked so hard for.” (Exh. 2 I. Nannini). And as Federico’s girlfriend

   describes “Federico has also lost the ability to work in the field he loves. While he

   fully acknowledges that this is a consequence of his own choices, it has been

   devastating for him. His career was something he was passionate about, and having

   that taken away has only deepened his remorse.” (Exh. 2 C. Yates).

         Clarisa echoes those same thoughts:

         The reality is that, regardless of what happens next, Federico has
         already lost a great deal. His dream of a corporate career is now almost
         impossible. For someone who has worked tirelessly to get to where he
         was, that alone is a devastating consequence. He has also lost
         friendships, realizing that some people he considered close have
         distanced themselves in the wake of these events. Fede made a
         mistake—one that he fully acknowledges. And the consequences he has
         already endured are severe. He has lost his career prospects, his
         reputation, and what he thought were lifelong friendships.




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   (Exh 2 C. Osio). This conviction will haunt Federico for the rest of his life. This

   “experience has change him” and “it is a mistake he will never repeat.” (Exh. 2 C.

   Yates).

             D. The need to avoid unwarranted sentencing disparities supports a
             downward variance for Mauro and Federico

         Recognizing that the insider trading guideline does not reflect the goals of

   sentencing under § 3553(a), courts often vary downward substantially in insider

   trading cases, including those with greater gains or aggravating factors that do not

   exist here. For example:

         1. Insider trading cases where courts have imposed non-custodial sentences

         We ask the Court to join with other districts that have imposed non-custodial

   sentences for insider trading, recognizing that such sentences are sufficient under §

   3553(a) to serve the goals of punishment. For example:

      • In United States v. Levoff, 19-CR-780 (D.N.J.), Levoff was an attorney who
        served as Apple’s global head of corporate law and corporate secretary who
        was sentenced to probation after trading on Apple securities based on inside
        earnings information. Levoff was on a committee of senior executives who
        reviewed Apple’s quarterly earnings report prior to public dissemination.
        ECF#16 (Indictment). Using this confidential information, Levoff traded
        Apple securities ahead of earnings announcements in 2015 and 2016 and
        made approximately $382,000. Id, Exacerbating Levoff’s conduct was the
        fact that he was responsible for securities laws compliance at Apple, including
        compliance with insider trading laws. Levoff pled guilty and was sentenced
        to four years of probation and 2,000 hours of community service. ECF#38
        (Judgment).

      • In United States v. Schulman, 16-CR-442 (E.D.N.Y.), the defendant was a
        partner at a national law firm. Schulman was accused of informing his



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         investment adviser that his client, King Pharmaceuticals, planned to merge
         with Pfizer. ECF#1 (Indictment). The tip resulted in $319,000 in illicit profits,
         including $15,500 in profits for Schulman. Id. at 6. Schulman went to trial
         and was convicted of conspiracy and securities fraud. Schulman’s offense
         level was 22 (41-51 months) and the government sought a sentence of 51 to
         64 months. ECF145:5, 14 (government Sentencing Memorandum). The court
         sentenced Schulman to three years of probation and 2,000 hours of
         community service. ECF#153 (Judgment).

      • In 2011-2012, there was a trio of insider trading cases in New Jersey where
        the defendants’ offense levels ranged from 19-23 but they all received
        noncustodial sentences:

             • A defendant with an offense level of 19 was sentenced to one year
             probation and a $5,000 fine. United States v. Robarge, No. 11-cr- 00802
             (D.N.J. June 4, 2012) (ECF#9).

             • A defendant with an offense level of 20 was sentenced to 3 years of
             probation and a $260,000 fine. United States v. Holley, No. 11-cr-00066
             (D.N.J. Dec. 17, 2012) (ECF#139).

             • A defendant with an offense level of 23 was sentenced to two years of
             probation and a $15,000 fine. United States v. Vollmar, No. 11-cr-00739
             (D.N.J. May 14, 2012) (ECF#9).

      • In United States v. Catenacci, 21-CR-759 (N.D.Ill.), the defendant was an
        oncologist who consulted on a cancer drug trial and learned of good results
        before the results were made public. Defendant purchased the stock and sold
        when the positive information was publicized, gaining $134,142. Defendant’s
        guideline range was 15-21 months. ECF#34 (government’s sentencing
        memo). The government sought a 12-month sentence. The court imposed a
        sentence of time served (one day) and one year of supervised release. ECF#38
        (Judgment).

      • In United States v. Talbot, No. 10-30036 (D. Mass.), a tipper pleaded guilty
        to insider trading. He had an offense level of 19, and the prosecutor sought a
        within range sentence of 37 months. However, the Judge sentenced the
        defendant to three years of probation that included 10 months of home
        confinement with electric monitoring. ECF#76.




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      • In United States v. Lewis, et. al, 1:23-CR-00370 (S.D.N.Y.) the defendant
        pled guilty to one count of insider trading and his gain was $302,064.73. The
        court sentenced him to 3 years’ probation, with the first 4 months on home
        incarceration. ECF#100; 101.

      • In United States v. Scalia, No. 3:11-cr-00522 (S.D. Cal.), co-defendants
        pleaded guilty to insider trading in a scheme that gained over $600,000. They
        were sentenced to three years of probation and ordered to pay $185,420 in
        restitution. ECF#60, 62.

      • In United States v. Markin, et. al,, 1:22-CR-00395 (S.D.N.Y.) the defendant
        pled guilty to one count of insider trading, with a gain of $403,375.75. The
        court sentenced him to 3 years’ probation, with 6 months on home
        confinement, and ordered him to forfeit the $403,375.75 gain. ECF#72.

      • In United States v. Brown, et. al., 2:17-CR-01423 (D. Ariz.) defendants
        Brown and Fox pled guilty to one count of insider trading, with a total gain of
        $368,423.73. Brown was sentenced to 3 years’ probation with 8 months on
        home confinement; Fox was sentenced to 3 years’ probation. ECF#64; 65.

      • In United States v. Collins, 18-CR-567 (S.D.N.Y.), the defendant obtained
        insider information that a clinical trial involving a drug for multiple sclerosis
        had gone poorly. The defendant sold the company’s shares before the
        information became public and passed on the information to his father in law.
        The loss avoided was $570,900. The guideline range was 37-46 months, but
        the court sentenced the defendant to six months of home confinement, five
        years of probation, and 500 hours community service. ECF#173 (Judgment).

      • In United States v. Anderson, 06-CR-91 (N.D. Ga.), the defendant was a bank
        vice president who learned that the bank was to be acquired by a larger bank.
        Defendant traded on the bank’s stock (gaining $130,000) and tipped a friend
        (who gained $40,000). ECF#1 (Indictment). Defendant fully litigated the case
        pretrial and did not plead guilty until the morning of the start of trial. The
        government sought a sentence of 18 months (guideline range was 18-24
        months). The court sentenced him to six months home confinement and two
        years of probation. ECF#71 (Judgment).

      • In United States v. Binette, 3:10-CR-30036 (D. Mass.), the defendant was
        convicted of insider trading and his gain was $615,000. The defendants




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         Guideline range was 41 to 51 months, but he was sentenced to 48 months’
         probation, with 6 months in a half-way house and 6 months of home
         confinement. ECF#223.

      • In United States v. Bonthu, 1:18-CR-00237 (N.D. Ga.), the defendant was a
        manager at Equifax. He took advantage of insider information to obtain a
        profit of more than $75,000 dealing in Equifax stock. He was sentenced to 8
        months of home confinement and a fine of $50,000, in addition to forfeiture
        of his profit. ECF#20.

         2. Insider trading cases where courts have granted a significant downward
            variance

         Courts have also substantially varied downward in insider trading cases,

   including cases with aggravating factors. For example:

      • In United States v. Khan, 17-CR-00295 (N.D. Cal.), the defendant was
        convicted of participating in an insider trading conspiracy and related scheme.
        ECF#157:1. Khan bribed an employee at Ross Stores to obtain private
        information that Khan used to trade on Ross options. Id. at 1-3. Using
        accounts in the names of family members to avoid detection, Khan profited
        $8.2 million. Id. at 2, 4. Khan’s offense level was 25 (63-78 months). The
        Court sentenced him to 30 months of imprisonment. Id. at 9; ECF#171 at 2.

      • In United States v. Blackstad, 19-CR-486 (S.D.N.Y.), the defendant was the
        owner and principal of an investment fund. He was convicted for trading on
        material nonpublic information obtained from his co-conspirator, a CPA at a
        publicly traded company. ECF#167:1-4. Blackstad made efforts to conceal
        the scheme, arranged for his employees to make some of the trades to avoid
        detection, and funneled the proceeds through an account held by a separate
        company. ECF#167:3-5. Blackstad gained over $6 million. Id. at 4. Due to
        multiple enhancements, his offense level was 33 (135-168 months). The Court
        sentenced him to 36 months. Id. at 9; ECF#172.

      • In United States v. John Afriyie, 16-CR-00377 (S.D.N.Y.), the defendant was
        convicted of securities fraud for using nonpublic material information
        obtained as part of his employment as an analyst at a private investment fund.
        ECF#140:1. The defendant made the purchases through a broker account held
        in his mother’s name and pretended to be his mother in calls with his broker.



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         Id. at 1, 2, 6. Afriyie’s offense level was 28 (78-97 months). Id. at 1. The Court
         imposed a sentence of 45 months. ECF#151:72.

      • In United States v. Michael and Gerald Shvartsman, 23-CR-307 (S.D.N.Y.),
        two brothers pled guilty to securities fraud. After learning that a company was
        interested in acquiring Trump Media, Michael arranged for one of his
        employees to be named to the board of directors of the acquiring company.
        Id. at 1-2. Through this employee, Michael received insider information,
        which Michael and Gerald used to make trades and they also tipped their
        business partners, employees, and friends. ECF#219:3; ECF#221:3. Michael
        made $18 million; Gerald almost $5 million. ECF#221:4; ECF#:219 at 1.
        Despite a guidelines range of 46 to 57 months for Michael, the Court imposed
        a sentence of 28 months. ECF#221:4. And despite a guidelines range of 37 to
        46 months for Gerald, he was sentenced to 22 months. ECF#219:4.

      • In United States v. Klein, 2:16-CR-00442 (E.D.N.Y.), the defendant was an
        investment advisor who was tipped off about a pending merger and conducted
        illegal trades based on that information. The transactions he and another co-
        conspirator made resulted in more than $400,000 in gains. Klein was
        sentenced to 6 months in prison. ECF#178.

      • In United States v. Johnson, 16-CR-457 (E.D.N.Y), the defendant was
        convicted of wire fraud. The defendant was the former head of HSBC’s
        Global Foreign Exchange cash trading, and exploited confidential information
        about a client’s planned transaction to generate $3.1 million in profits for
        HSBC and, by extension, enrich himself. ECF#217:3-6. Johnson’s total
        offense level was 29 (87-108 months). The court imposed a sentence of 24
        months.

      • In United States v. Barama, 19-CR-00463 (N.D. Cal.), the defendant was
        convicted of securities fraud. ECF#260:3. He was an IT professional who
        obtained access to his former employer’s quarterly financial performance
        before that information was made public. Id. at 2-3. Using that
        misappropriated information, the defendant traded ahead of four different
        earnings announcements, making over $6 million in profits. Id. Barama’s
        offense level was 25 (57-71 months), id. at 3, but he received a sentence of 18
        months’ imprisonment. ECF#267:19.




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      • In United States v. Rajat Gupta, 1:11-CR-00907 (S.D.N.Y.), the defendant,
        who served on the board of directors of Goldman Sachs and Procter &
        Gamble, was convicted of securities fraud for disclosing material, non-public
        information. At sentencing, although the government alleged that the
        defendant had realized a total gain of $15,355,409, the court found that the
        defendant’s total gain was $5,032,195. The defendant’s guideline range was
        78 to 97 months, but the court sentenced him to 24 months imprisonment.
        ECF#127.

      • In United States v. Scott London, 2:13-CR-00379 (C.D. Cal.), the defendant
        was a senior partner at KPMG and pled guilty to one count of insider trading.
        The defendant’s gain was over $1 million and his total offense level 23 (46 to
        57 months). Id. ECF#47:5-6. The court sentenced him to 14 months
        imprisonment. Id. ECF#66.

         E. The potential financial penalties that Mauro and Federico face

         In addition to the sentences this Court imposes, Mauro and Federico also face

   the potential for substantial financial penalties.

         Mauro agreed to forfeit $180,328.41, which he transferred to undersigned

   counsel’s trust account shortly after the change of plea so the funds would be

   immediately available for payment to the government.

         As discussed earlier, if Mauro is sentenced to less than one year in prison, the

   SEC has indicated it is likely to seek a civil penalty against him of approximately

   $360,000. As to Federico, although his gain was $0, the SEC is likely to seek a civil

   penalty against him of $1.1 million if he is sentenced to less than one year in prison.

   Thus, although both Mauro and Federico seek a non-custodial sentence from this

   Court, they are exposed to a potentially huge liability to the SEC. To put it in

   perspective, in a case where the total gain by Mauro and Federico was at most



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   $180,000, the United States government (DOJ and SEC) proposes to extract from

   them $1,640,000. The Nanninis, as well as Thermiotis and Tonarely, have jointly

   moved Judge Bloon, before whom the SEC case is pending, to transfer the SEC case

   to this Court for final determination. That motion is pending.

         Finally, Federico’s employer, BRG, is seeking restitution of legal fees BRG

   incurred in support of this prosecution, and BRG has reserved the right to seek

   restitution from Federico alone. The parties are in discussions in an effort to reach a

   resolution on restitution before sentencing.

         Thus, in addition to all the punishment already suffered by Federico and to be

   suffered by him when sentenced by the Court, Federico also would be financially

   crushed for the rest of his life if all these financial penalties are imposed on him.

         It bears repeating that no one who sees Federico teetering on the edge of this

   abyss would consider it a good idea to engage in insider trading like he did. The

   Court does not need to send him or Mauro to prison to deter others or show that

   engaging in insider trading has severe and lifelong consequences. A non-custodial

   sentence with conditions that include substantial community service will hold them

   both accountable for their actions, while also taking into consideration that their

   overall conduct reveals their crimes to have been aberrations to their true character.




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                                        III. CONCLUSION

         Mauro and Federico Nannini know and accept that their wrongdoing placed

   them in the situation they are in today. They admit that the decisions they made were

   wrong and fully accept their responsibility for their conduct. They are both ashamed

   and humiliated, and ask that the Court recognize that their transgressions do not

   outweigh all the positive aspects of their lives. Mauro and Federico have started on

   the path to redemption and ask for the Court’s compassion to help them make that

   journey.

                                                 Respectfully submitted,

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